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                      Exhibit 4
   Case:
  Case   1:19-cv-01978
       16-00066        Document
                   Doc 835 Filed#: 73-4 Filed:
                                01/16/20       06/07/23
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                            Document       Page 1 of 1

                         IN THE UNITED STATES BANKRUPTCY COURT
                          FOR THE NORTHERN DISTRICT OF ILLINOIS
                                     EASTERN DIVISION

 In re:                                                )     Chapter 7
 Michael A. Wolf,                                      )
 Debtor.                                               )     Bankruptcy Case No.: 14-27066
                                                       )
 N. Neville Reid, not individually but solely in       )     Judge: Honorable Deborah L. Thorne
 his capacity as Chapter 7 Trustee for the             )
 bankruptcy estate of Michael A. Wolf,                 )     Adversary Proceeding No.:
         Adversary Plaintiff,                          )     16-00066
   v.                                                  )
 Michael Wolf, Scott Wolf, Peter Wolf, Zig-Zag,        )
                                                                                               FILED
                                                                                           IJNITEO STATES BA~KRUPTCY COURT
 Corp. ZZC Inc., MMQB, Inc. Hound Ventures,            )                                      NOAfHrnN OISTtl!GT OF ILUlllOIS
 Inc., SHBM, Inc.                                      )
         Adversary Defendants.                         )                                           JAN 16 2020



STATE OF Florida
COUNTY OF Sarasota

       PERSONALLY came and appeared before me, the undersigned Notary, the within named
Scott Wolf, who is a resident of Sarasota County, State of Florida, and makes this his statement and
Residence Affidavit upon oath and affirmation of belief and personal knowledge that the following
matters, facts and things set forth are true and co1Tect to the best of his knowledge:
        I, Scott Wolf, ctmcntly reside at: 320 Central Ave, Unit 141, Sarasota, Florida, 34236
        I, Scott Wolf, currently work at: 1680 Fruitville Rd, Unit 208, Sarasota, Florida, 34236
       My mailing address: PO Box 963, Liberty Lake, Washington, 99019
       My phone number: 304-769-9828. My email address: scottwolf.0330@gmail.com

        DA TED this the   _LS_ day of rJ01,.,        v0    /r ,                   20 :) Q




My Commission Expires:

                                                          PATlllCK SCHUGG
                                                    Notary Public • Slate of Florida
                                                     Commi..ioo 1 GG 006959
                                                   My C•-· Expires Oct 24. 2020
                                                   Bondad llmlu'JI! Natiooal Notary Assn
